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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATE OF AMERICA, Case No.: 1:21-cr-00392 -RCL-6
Plaintiff,

DEFENDANT MELE’S AMENDED
MOTION FOR APPOINTMENT OF
COUNSEL UNDER THE CRIMINAL
JUSTICE ACT

VS.

RONALD MELE,

Defendant

 

 

 

DEFENDANT MELE’S MOTION FOR APPOINTMENT OF CJA COUNSEL

TO THE HONORABLE ROYCE LAMBERTH, U.S. DISTRICT JUDGE FOR THE
DISTRICT OF COLUMBIA:

Mr. Ronald Mele, through his attorney, Steven C. Bailey, respectfully requests that this
Honorable Court have his current attorney appointed by the Court to represent him pursuant to
the Criminal Justice Act (“CJA”), 18 U.S.C. § 3006A. In support of the motion, Mr. Mele shows
as follows:

l. Undersigned counsel was hired by Mr. Mele in mid-June 2021, to represent him
in the above-mentioned matter. Since that time, Mr. Mele was fired from his well-paying job as
a salesman. Mr. Mele has had multiple issues related to this since this case was brought against

him and is happy to submit an affidavit under seal if the Court requests same. Mr. Mele also has

DEFENDANT MELE’S AMENDED MOTION FOR APPOINTMENT OF COUNSEL UNDER THE CRIMINAL
JUSTICE ACT - |

 
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legal fees related to this outside of his criminal case.

2. Furthermore, Mr. Mele, along with multiple other defendants from this case and
several other criminal cases filed in this District Court, was sued civilly in Federal District Court
in the District of Columbia in Smith, et. al. v. Donald Trump, et. al., 21 CV 2265(APM)(filed
August 26, 2021). The Smith case was brought by the Lawyers’ Committee for Civil Rights
Under Law, a not-for profit partially funded by the Open Society Foundations which is founded
by George Soros. The original complaint was 71 pages, however, an amended complaint was
filed on December 3, 2021 and the complaint is now 79 pages. Mr. Mele has also had to hire
Mr. Bailey as his attorney of record in order to represent him in the civil case brought against
him.

3. Although this case progressed at a normal rate in the beginning, as far as criminal
discovery is concerned, however, during the months of September, October, November, and
February, the United States ramped up discovery went into overdrive and has produced tens, if
not hundreds of thousands of pages of discovery in this case. See ECF No. 81 and 124. With
regard to only these defendants in this case, there have been nine discovery productions by the
United States, most being produced in the months of September and October. Moreover, the
United States has even documented the amount of evidence in this case is voluminous, with not
only the hundreds of thousands of pages in discovery, but also the tens of thousands of
electronic files that have also been produced by the United States, where this case has only been
open for a year and eight months.

4, As the Court can imagine, Mr. Mele has exhausted the funds he has allocated and
saved in order to pay for this case, where he can no longer pay undersigned counsel.

5. As Mr. Mele previously stated in his sealed declaration attached to his Motion

DEFENDANT MELE’S AMENDED MOTION FOR APPOINTMENT OF COUNSEL UNDER THE CRIMINAL
JUSTICE ACT - 2

 
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for Permission to Relocate, he was effectively fired from his job within days of the indictment,
and although he was able to find new employment during the post-indictment time period,
through a job that pays barely above minimum wage rendering Mr. Mele underemployed.
Moreover, Mr. Mele’s relocation has again placed him back on the job market. Therefore, the
minimum wage job has not and will not provide Mr. Mele with the extra funds that he needs to
pay for undersigned counsel. Mr. Mele is now without savings, and without a way to pay for
undersigned counsel,

6, Mr. Mele specifically requests the appointment of his current attorney, rather
than appointment of new counsel. Undersigned counsel has represented Mr. Mele for nearly a
year and eight months, essentially through the entirety of this case, plus undersigned counsel is
thoroughly and intimately familiar with the case.

7. Furthermore, with the actual trial on the horizon, and several motion hearings
being set in this case for which undersigned counsel must appear for, it is imperative that
undersigned counsel remain on the case.

8. Defending this case, organizing and going through the discovery, preparing for
hearings, and filing motions etc. in this case has and will continue to be a monumental task.
Undersigned counsel’s associate attorney consulted with counsel (Kira West) for co-defendant
(Mr. Warner) before filing this motion. A financial affidavit has been executed by Mr. Mele and
emailed to Ms. Jenkins, the courtroom deputy.

Therefore, Mr. Mele respectfully requests that undersigned counsel be appointed under
the CJA Act to represent him in this case. The continuity of counsel would best serve Mr. Mele.
Undersigned counsel has spent an inordinate amount of time in the case and is at this time in the

best position to continue representing Mr. Mele in this case.

DEFENDANT MELE’S AMENDED MOTION FOR APPOINTMENT OF COUNSEL UNDER THE CRIMINAL
JUSTICE ACT - 3

 
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Respectfully submitted,

Dated: February 26, 2023

By: /s/ Steven C. Bailey
Steven C. Bailey

Attorney for the Defendant
RONALD MELE

 

CERTIFICATE OF SERVICE

 

I, Steven C. Bailey, hereby certify that on February 9, 2023, I caused a copy of this
Motion for Appointment of Counsel Under the Criminal Justice Act to be delivered to the parties

of record by filing it electronically.

/s/ Steven C. Bailey
Steven C. Bailey

 

DEFENDANT MELE’S AMENDED MOTION FOR APPOINTMENT OF COUNSEL UNDER THE CRIMINAL
JUSTICE ACT - 4

 
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATE OF AMERICA, Case No.: 1:21-cr-00392-RCL-6
Plaintiff,
vs ORDER GRANTING APPOINTMENT OF
COUNSEL UNDER THE CRIMINAL
RONALD MELE, JUSTICE ACT (PROPOSED)

Defendant

 

ORDER GRANTING APPOINMENT OF CJA COUNSEL (PROPOSED)

Before the court is Defendant, Ronald Mele’s amended motion [ ] to appoint his counsel,
Mr. Steven C. Bailey, as his counsel under the Criminal Justice Act (“CJA”). In June 2021,
Defendant retained Mr. Bailey as his counsel to represent him in this criminal case. Mr. Mele
was terminated from his employment and is at this point underemployed with his current
employment and contends that he no longer can pay Mr. Bailey. Defendant provided a financial
affidavit in support of his request, which the court will file under seal. Upon Consideration of
defendant’s motion, it is hereby

ORDERED that Steven C. Bailey is appointed as counsel for defendant under the CJA,
to be effective representation from this date forward. Pursuant to 18 U.S.C.§ 3006A(c) & (f), at
the conclusion of this case the Court will determine whether Defendant has funds available to
pay for part or all of the representation, and if so, the amount of such funds the Defendant shall

pay towards the representation.

IT IS SO ORDERED.

Date:

 

Royce C. Lamberth
United States District Judge
